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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                                Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                Case No. 17-12560 (JKS)
al.,1
                                                                      (Jointly Administered)
                           Remaining Debtors.
MICHAEL GOLDBERG, as Liquidating Trustee of the
Woodbridge Liquidation Trust, successor in interest to
the estates of WOODBRIDGE GROUP OF
COMPANIES, LLC, et al.,                                Adversary Proceeding
                                                       Case No. 19-50821 (JKS)
                           Plaintiff,
                          vs.

IRA SERVICES TRUST COMPANY, CUSTODIAN                                 Ref. Adv. Docket No. 24
FOR THE BENEFIT OF BRET J. PARENT IRA;
BRET J. PARENT,

                                     Defendants.

                                          JUDGMENT BY DEFAULT

           Upon the Plaintiff’s Motion for Default Judgment (the “Motion”) pursuant to Bankruptcy

 Rule 7055 for the entry of a judgment by default against defendants IRA Services Trust

 Company, custodian for the benefit of Bret J. Parent IRA, and Bret J. Parent (each a

 “Defendant,” and collectively, the “Defendants”) with respect to the Complaint for Avoidance

 and Recovery of Preferential and Fraudulent Transfers Pursuant to 11 U.S.C. Sections 544, 547,

 548, & 550 [Adv. Docket No. 1] (the “Complaint”)2 and the Entry of Default entered by the

 Clerk of Court [Adv. Docket No. 14]; and adequate notice of the Motion having been given and it

 appearing in the circumstances that no other or further notice is required; and this Court having


 1
   The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
 Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
 Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.
 2
     Capitalized terms used but not defined herein shall have the meanings assigned to such terms in the Complaint.


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jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and Defendant having

failed to answer or otherwise respond to the Complaint within the applicable deadline; and the

entry of a judgment by default being proper against Defendant; and sufficient cause appearing

therefor,

        IT IS HEREBY ORDERED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       Pursuant to Bankruptcy Rule 7055(b)(2), judgment by default (“Judgment”) shall

be entered against Defendants with respect to all claims for relief asserted in the Complaint.

        3.       Judgment is awarded in favor of Plaintiff and against Defendants on the first and

second claims for relief, (a) avoiding the Ninety Day Transfers free and clear of any claimed

interest of Defendant, (b) directing that the Ninety Day Transfers be set aside, and (c) ordering

Defendant to pay to Plaintiff $36,360.00;

        4.       Judgment is awarded in favor of Plaintiff and against Defendants on the third and

fourth claims for relief, (a) avoiding the Fraudulent Transfers free and clear of any claimed

interest of Defendant, (b) directing that the Fraudulent Transfers be set aside, and (c) ordering

Defendant to pay to Plaintiff $3,042.00;

        5.       Judgment is awarded on all claims for relief, awarding Plaintiff prejudgment

interest as permitted by law, costs of suit, and such other and further relief as is just and proper.

        6.       The Plaintiff is authorized and empowered to take any and all actions necessary or

appropriate to consummate, carry out, effectuate, or otherwise enforce the terms, conditions, and

provisions of this Judgment.

        7.       The Clerk of Court is authorized and directed to take any action that is necessary

and appropriate to give effect to this Judgment.



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        8.       This Court shall retain jurisdiction and power over any and all matters arising

from or related to the interpretation or implementation of this Judgment.




                                                             J. KATE STICKLES
       Dated: October 26th, 2021
                                                             UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware



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